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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES – GENERAL

 Case No. LA CV 20-02291-DOC-KES                                     Date: June 29, 2023

 Title: LA ALLIANCE FOR HUMAN RIGHTS, et al., v. CITY OF LOS ANGELES, et al.



 PRESENT:
                   THE HONORABLE DAVID O. CARTER, JUDGE

               Karlen Dubon                                   Not Present
              Courtroom Clerk                                Court Reporter

       ATTORNEYS PRESENT FOR                        ATTORNEYS PRESENT FOR
             PLAINTIFF:                                  DEFENDANT:
            None Present                                  None Present



       PROCEEDINGS (IN CHAMBERS): ORDER GRANTING IN PART AND
                                  DENYING IN PART MOTION TO
                                  DISMISS [552]

       Before the Court is a Motion to Dismiss (“Motion” or “Mot.”) (Dkt. 552) brought
 by Defendant County of Los Angeles (“Defendant” or “County”). The Court heard oral
 arguments on June 6, 2023. Having reviewed the moving papers submitted by the parties
 and heard the parties’ arguments, the Court GRANTS IN PART and DENIES IN PART
 Defendant’s Motion.

       I.     Background

              A.    Facts

        The Court adopts the facts as laid out in its previous order denying the County’s
 Motion to Dismiss. (“First Order”) (Dkt. 300). Plaintiffs are members of a broad coalition
 of Los Angeles residents that include a number of persons experiencing homelessness in
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 Los Angeles. Second Amended and Supplemental Complaint (“SAC”) (Dkt. 454) ¶¶ 1,
 81. Specifically, Plaintiffs assert that they “are current and formerly unhoused
 individuals, residents, community members, businesses, non-profit, and service providers
 all coming together to fight against what has become the accepted standard of death and
 despair in Los Angeles.” Dkt. 265-2.
         Currently, five to six homeless individuals die each day on the streets of Los
 Angeles. SAC ¶ 4. In 2020, a point-in-time count “showed 66,436 persons experiencing
 homelessness in Los Angeles County,” a figure that has increased “by approximately
 60% since 2013, with the number of unsheltered homeless doubling.” Id. The mortality
 rates for the unhoused have grown even faster. Id. Plaintiffs allege, “the mentally ill and
 addicted visibly suffer in intersections, parks, and sidewalks. Without medical
 supervision or treatment, the most severely affected cannot hold jobs or housing, and are
 left to wander and fend for themselves in a horrific cycle of degradation.” Id. ¶ 5.
         The County allegedly caused a “lethal under-funding of emergency and interim
 shelter solutions which has in turn left thousands to decline and die on the streets without
 support from County services.” SAC ¶ 6. According to Plaintiffs, “[t]he City and County
 combined spend over a billion dollars annually providing police, emergency, and support
 services to those living on the streets. And still, the tragedy unfolds.” SAC ¶ 10. “The
 County has squandered massive amounts of homelessness-related funds, using its
 substantial revenue from Measure H and state and federal funds together to fund
 homeless-relief projects which have no chance of achieving the goal for which they are
 intended.” Id. ¶ 59.
          Plaintiffs bring constitutional claims under 42 U.S.C. § 1983 as well as claims
 under California state law, including both statutory and tort claims. See SAC.

               B.   Procedural History

       On March 10, 2020, Plaintiff LA Alliance for Human Rights et al. (“Plaintiff” or
 “LA Alliance”) filed their complaint (Dkt. 1). In the ensuing years, the Court conducted
 numerous hearings in which it heard evidence regarding the City and County of Los
 Angeles’ action and inaction as it pertains to the homelessness crisis. On July 15, 2022,
 LA Alliance filed a Second Amended and Supplemental Complaint. (“SAC”) (Dkt. 454).
       On May 3, 2023, the County of Los Angeles filed the instant Motion to Dismiss
 (“Motion” or “Mot.”) (Dkt. 552). On May 15, 2023, Plaintiffs filed an opposition.
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 (“Opposition” or “Opp’n”) (Dkt. 567). Defendant County replied on May 22, 2023
 (“Reply”) (Dkt. 569).

        II.    Legal Standard

         Dismissal under Rule 12(b)(1) is proper if the Court lacks subject matter
 jurisdiction to adjudicate claims asserted in a plaintiff’s complaint. Fed. R. Civ. P.
 12(b)(1). To satisfy the “‘irreducible constitutional minimum’ of standing,” the party
 invoking federal jurisdiction must demonstrate that it has “(1) suffered an injury in fact,
 (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely
 to be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540,
 1547 (2016). A motion to dismiss under a Rule 12(b)(1) challenge to subject matter
 jurisdiction may be facial or factual. “A facial attack accepts the truth of the plaintiff’s
 allegations but asserts that they are insufficient on their face to invoke federal
 jurisdiction.” Leite v. Crane Co., 749 F.3d 1117, 1121 (9th Cir. 2014).

        III.   Discussion

        The County argues that (1) Plaintiffs’ claims are not justiciable as there is no case
 or controversy, and because Plaintiffs lacks standing; (2) Plaintiffs’ federal Section 1983
 claims fail to state a claim; and (3) Plaintiffs’ state law claims fail to state a claim.

               A. Plaintiffs’ Claims are Justiciable

                     1.       There is a live case or controversy

         The County asserts first that there is no case or controversy due to a proposed
 settlement agreement between the County and Plaintiffs. Mot. at 13–15. As stated in prior
 orders, the Court found the proposed settlement agreement inadequate and lacking in
 accountability. As such, the Court denied jurisdiction over the proposed settlement
 agreement and found that no settlement agreement had been reached. See Order Denying
 Certificate of Appealability; Supplemental Order (Dkts. 551, 588).
         Further, Plaintiffs deny the existence of a settlement agreement, and continue to
 litigate the instant matter. Id.; see also Opp’n at 4. (stating “the County expressly agreed
 that the Settlement Agreement would not become binding unless the Court (i) dismissed
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 the case and (ii) agreed to continuing enforcement, neither of which the Court did.”)
 (internal quotation marks omitted).

                     2.       Plaintiffs Have Established Standing

        The County asserts that Plaintiffs lack standing because (1) not every Plaintiff has
 standing to pursue each claim; (2) Plaintiffs’ alleged injuries are not traceable to the
 County, and (3) Plaintiffs’ injuries are not redressable. Mot. at 14–16.

                      a.      Standing for Each Plaintiff

        Defendant argues that “not every Plaintiff has standing to pursue each claim,”
 because Plaintiffs include both persons experiencing homelessness and property owners.
 Mot. at 15. Plaintiffs Shinbane, Bastian, Rich, Burk, Frem, Pinsky, and Tashdjian (the
 “Property-Owner Plaintiffs”) are mostly property owners in Skid Row. The County
 continues that the Property-Owner Plaintiffs cannot allege injuries under § 17000, which
 provides a cause of action for the poor and indigent.
        The Court agrees that the Property-Owner Plaintiffs do not have standing to
 pursue claims under § 17000. To the extent Property-Owner Plaintiffs pursue claims for
 violation of mandatory duty under § 17000, those claims are DISMISSED WITH
 PREJUDICE. The remaining indigent Plaintiffs have standing for their claim under §
 17000. The Property-Owner Plaintiffs’ remaining claims are examined separately below.
        Defendant also argues that persons experiencing homelessness cannot have
 standing to pursue the nuisance claims. However, those claims are properly brought by
 “Plaintiffs who own or rent property.” SAC ¶ 136.
        As to the remaining claims, the Court finds that Plaintiffs have adequately alleged
 standing, as explained in the following sections.

                      b.      Plaintiffs’ Alleged Injuries are Traceable

          A causal connection between the injury and the conduct complained of requires
 that the injury be “‘fairly ... trace[able] to the challenged action of the defendant, and not
 ... th[e] result [of] the independent action of some third party not before the court.’”
 Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992) (citing Simon v. Eastern Ky.
 Welfare Rights Organization, 426 U.S. 26, 41–42 (1976)).
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         Defendant contends that “[n]o Plaintiff or representative members reside in
 unincorporated parts of Los Angeles County, which the County’s authority is limited to .
 . . To the extent Plaintiffs’ injuries are due to increased PEH in Skid Row, it is beyond
 dispute that countless factors lead to homelessness. Plaintiffs cannot link their alleged
 harm and the County’s substantial efforts to combat homelessness.” Mot. at 16.
         Plaintiffs respond that their injuries are traceable to a variety of the County’s
 actions or inactions, including failure to provide necessary mental health and drug
 rehabilitation services or care; concentrating services “which draws and keeps unhoused
 individuals in the most unsafe and unhealthy location in the county; or wasting or
 misusing funds designed to reduce homelessness or directly assist homeless mentally ill
 individuals. See Opp’n. at 6-7. Plaintiffs allege that the County has a “statutory
 obligation to properly administer and provide mental and healthcare services” to all
 citizens of Los Angeles County, including those within incorporated parts of Los Angeles
 County. SAC ¶ 63.
         While other factors contribute to the asserted injury, here the link between the
 County’s actions and homelessness “is not tenuous or abstract.” Ocean Advocs. v. U.S.
 Army Corps of Engineers, 402 F.3d 846, 860 (9th Cir. 2005). The County’s alleged
 actions or inactions that cause the number of persons experiencing homelessness to
 increase or cause the conditions of homelessness to worsen demonstrate a direct and
 causal link to the asserted injury-in-fact. Accordingly, Plaintiffs have sufficiently alleged
 causality between their injuries and the County’s conduct.

                      c.     Plaintiff’s Alleged Injuries are Redressable

        Finally, “it must be ‘likely,’ as opposed to merely ‘speculative,’ that the injury will
 be ‘redressed by a favorable decision.’” Lujan v. Defs. of Wildlife, 504 U.S. 555, 561
 (1992) (quoting Simon v. Eastern Ky. Welfare Rights Org., 426 U.S. 26, 41-42 (1976)).
        Defendant argues that redressability is unattainable here because “[t]he Court’s
 Article III power does not permit intervention into legislative prerogatives about how to
 spend limited resources to serve the public.” Mot. at 16. Plaintiffs respond that “district
 courts have broad power to order equitable relief when a constitutional or statutory right
 has been violated.” Opp’n. at 4-5 (citing LA All. for Human Rights v. County of Los
 Angeles, 14 F.4th 947, 961 (9th Cir. 2021) (“The district court undoubtedly has broad
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 equitable power to remedy legal violations that have contributed to the complex problem
 of homelessness in Los Angeles.”)
         “[T]he law and the Constitution demand recognition of certain [] rights . . . If
 government fails to fulfill [its] obligation, the courts have a responsibility to remedy the
 resulting [] violation.” Brown v. Plata, 563 U.S. 493, 510-11 (2011); see also Swann v.
 Charlotte-Mecklenburg Bd. Of Educ., 402 U.S. 1, 15 (1971) (when considering the
 affirmative acts of a government body “[o]nce a right and a violation have been shown,
 the scope of a district court’s equitable powers to remedy past wrongs is broad, for
 breadth and flexibility are inherent in equitable remedies”); Lemon v. Kurtzman, 411 U.S.
 192, 200 (1973) (“In shaping equity decrees, the trial court is vested with broad
 discretionary power”). Accordingly, if the Court finds an ongoing constitutional
 violation, it is obligated to impose a remedy. Budgetary and capacity concerns can be
 adequately addressed by the Court by giving the party sufficient discretion in how to
 remedy the violation.
         Therefore, Plaintiffs have shown that their injuries are likely to be redressed by a
 favorable judicial decision and have carried their burden of establishing standing at this
 stage of the litigation.

               B.   Constitutional Claims Under 42 U.S.C. § 1983

               1.     Plaintiffs Properly Allege a Constitutional Violation

        Defendant argues that Plaintiffs have not met their burden to state a plausible
 claim based on substantive due process because “[t]he Constitution does not confer a
 fundamental right to housing . . . nor any governmental aid.” Mot. at 18. (citation
 omitted).
        The Court finds that Plaintiffs have brought a plausible substantive due process
 claim. The Fourteenth Amendment provides, in relevant part, that no state “shall . . .
 deprive any person of life, liberty, or property, without due process of law.” U.S. Const.
 amend. XIV, § 1. The Due Process Clause guarantees not only procedural protections,
 but also substantive rights, thereby “barring certain government actions regardless of the
 fairness of the procedures used to implement them.” Daniels v. Williams, 474 U.S. 327,
 331 (1986). Substantive due process accordingly “forbids the government from depriving
 a person of life, liberty, or property in such a way that ‘shocks the conscience’ or
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 ‘interferes with rights implicit in the concept of ordered liberty.’” Nunez v. City of Los
 Angeles, 147 F.3d 867, 870 (9th Cir. 1988) (quoting United States v. Salerno, 481 U.S.
 739, 746 (1987)). The “shocks the conscience” standard is not subject to a rigid list of
 established elements. See County of Sacramento v. Lewis, 523 U.S. 833, 850 (1998
 (“Rules of due process are not . . . subject to mechanical application in unfamiliar
 territory.”) On the contrary, “an investigation into substantive due process involves an
 appraisal of the totality of the circumstances rather than a formalistic examination of
 fixed elements.” Squadrito, 152 F.3d 564, 570 (7th Cir. 1998).
         As to whether substantive due process applies to the particular circumstances
 alleged, the “threshold question is whether the behavior of the governmental officer is so
 egregious, so outrageous, that it may fairly be said to shock the contemporary
 conscience.” Lewis, 523 U.S. at 847 n. 8. The “touchstone of due process is protection of
 the individual against arbitrary action of government,” Wolff v. McDonnell, 418 U.S. 539,
 558 (1974), and the “exercise of power without any reasonable justification in the service
 of a legitimate governmental objective,” Lewis, 523, U.S. at 846. The due process
 guarantee bars governmental conduct that violates the “decencies of civilized conduct,”
 Rochin v. California, 342 U.S. 165, 173 (1952) interferes with rights “‘implicit in the
 concept of ordered liberty[,]’” id. at 169, 72 S.Ct. 205 (quoting Palko v. State of Conn.,
 302 U.S. 319, 325 (1937)), or is so “‘brutal’ and ‘offensive’ that it [does] not comport
 with traditional ideas of fair play and decency[.]” Breithaumpt v. Abram, 352 U.S. 432,
 435 (1957). Accordingly, substantive due process protects against government power
 arbitrarily and oppressively exercised. Daniels, 474 U.S. at 331.
         Here, the question is whether the conduct attributed to the County violates
 unhoused families’ substantive due process right to family integrity. It has long been
 settled that the liberty interest identified in the Fifth Amendment provides a right to
 family integrity or to familial association. See U.S. Const. amend. V (stating no person
 shall “be deprived of life, liberty, or property, without due process of law.”); Quilloin v.
 Walcott, 434 U.S. 246, 255, (1978) (stating “the relationship between parent and child is
 constitutionally protected.”). Indeed, “[t]he liberty interest at issue in this case—the
 interest of parents in the care, custody, and control of their children—is perhaps the
 oldest of the fundamental liberty interests recognized by” the Court. Troxel v. Granville,
 530 U.S. 57, 65, (2000); see also Rosenbaum v. Washoe County, 663 F.3d 1071, 1079
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 (9th Cir. 2011) (“The substantive due process right to family integrity or to familial
 association is well established.”).
         The County’s discriminatory conduct has threatened the family integrity of the
 Black unhoused. A disproportionate number of Black unhoused families directly stems
 from decades of systemic racism intended to segregate and disenfranchise the Black
 community. These allegations sufficiently describe government conduct that arbitrarily
 threatens the family integrity of the Black unhoused and represents the “exercise of
 power without any reasonable justification in the service of an otherwise legitimate
 governmental objective[.]” Lewis, 523 U.S. at 846, 118 S.Ct. 1708; see also SAC ¶¶ 47-
 59. Such conduct, if true, as assumed to be on the present motion, fails to comport with
 traditional notions of fair play and decency.

                    2.       Equal Protection

         The Equal Protection Clause of the Fourteenth Amendment to the United States
 Constitution proscribes state action that discriminates against a suspect class. The
 Supreme Court has instructed lower courts to examine state action on a case-by-case
 basis, “sifting facts and weighing circumstances [so that] the nonobvious involvement of
 the State…[can] be attributed its true significance.” Burton v. Wilmington Parking
 Authority, 365 U.S. 715, 722 (1961). The Supreme Court has held that “a State does not
 discharge its constitutional obligations until it eradicates policies and practices traceable
 to its prior de jure dual system that continue to foster segregation.” United States v.
 Fordice, 505 U.S. 717, 727–28 (1992) (emphasis added). Defendants argue that
 “Plaintiffs cannot show that the County discriminated against anyone.” Mot. at 25. By
 contrast, as just one example of the County’s significant role in creating and perpetuating
 systemic racism, the County has recently undertaken efforts to return previously seized
 land to the descendants of Black property owners in Manhattan Beach. Dkt. 277 at 20.
 Los Angeles County Supervisor Janice Hahn recently stated: “There’s no doubt that this
 was such an injustice that was inflicted — not just on [former Manhattan Beach property
 owners] Charles and Willa Bruce, but generations of their descendants who almost
 certainly would be millionaires had they been allowed to keep that beachfront property.”
 Dkt. 277 at 20. Beyond this admission, Plaintiffs allege the County’s persistent inaction
 and inertia as it pertains to developing sustainable solutions to the homelessness crisis in
 the face of a disparate impact on Black homeless individuals further evinces an Equal
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 Protection Violation. See Dkt. 277 at 76–79. The Court has previously noted that the
 County’s own Los Angeles Homeless Services Authority (“LAHSA”) reported in
 December of 2018 that: “The impact of institutional and structural racism in education,
 criminal justice, housing, employment health care, and access to opportunities cannot be
 denied: homelessness is a by-product of racism in America.” See Dkt. 277 at 3-4;
        The Court therefore DENIES the County’s motion as to Plaintiffs’ Equal
 Protection claim.

                    3.       State-Created Danger Doctrine

         While “the Fourteenth Amendment…generally does not confer any affirmative
 right to governmental aid,” DeShaney v. Winnebago Cnty. Dep't of Soc. Servs., 489 U.S.
 189, 202 (1989); Patel v. Kent Sch. Dist., 648 F.3d 965, 971 (9th Cir. 2011), the Supreme
 Court in DeShaney created an exception that imposes a duty to act when the government
 has created the dangerous conditions. DeShaney, 489 U.S. at 198–202. The Ninth Circuit
 has held that a state has a duty to act “when the state affirmatively places the plaintiff in
 danger by acting with ‘deliberate indifference’ to a ‘known or obvious danger.’” L.W. v.
 Grubbs, 92 F.3d 894, 900 (9th Cir. 1996) (internal citation omitted).
         Defendant contends that Plaintiffs “do not allege that the County created a
 particularized danger specifically directed at any particular plaintiff,” nor an “affirmative
 act” by the County. Mot. at 21.
         In contrast to Defendant’s assertion, Plaintiffs’ complaint specifically notes that
 the County’s actions are “exacerbating or causing significant mental and physical decline
 at such a rate that outpaces the building and provision of such units.” SAC ¶ 158
 (emphasis added). Plaintiffs’ allegations include that the County failed in its obligation to
 relieve and support the poor, failed to provide adequate mental health services, and
 misused funds throughout the County. SAC ¶¶ 28-70, 124-126.
         Considering the extensive allegations that Defendant has mismanaged Los
 Angeles’ homelessness crisis and created a system plagued by unaccountability and
 systemic racism that has led to disproportionate danger for communities of color, the
 Court cannot accept Defendant’s argument that the County has not played a significant
 role in creating this crisis. Therefore, Defendant’s motion to dismiss Plaintiffs’ claim
 based on the state-created danger doctrine is DENIED.
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                    4.       Takings Claim (Unlawful Policy, Custom, or Practice)

         Defendant asserts that Plaintiffs cannot sufficiently allege that Plaintiffs have a
 property interest, nor that Defendant has taken that property for which compensation is
 due. Mot at. 23. Defendant argues that Plaintiffs cannot have a private property interest in
 public locations, such as sidewalks, beaches and under overpasses. Id.
         Plaintiffs argue that the City and County’s actions “concentrating homeless
 individuals in unsafe areas” have directly caused injury to Plaintiff’s private property.
 Opp’n at 15. For example, due to dangerous and unhealthy conditions, members of
 Plaintiffs cannot lease or sell their properties and spend hundreds of thousands on
 sanitation or repair from excrement, needles, graffiti, or uncontrollable fires. Id.; SAC ¶
 56-57, 81.
         The County goes on to argue that any injury is caused by third parties, the people
 experiencing homelessness, rather than direct action by the County. In Cedar Point
 Nursery v. Hassid, the Supreme Court confirmed that regulatory action by the
 government which permits third party intrusion can be considered a “taking” under the
 Fifth Amendment. 141 S. Ct. 2063, 2079-80 (2021) (“The access regulation grants labor
 organizations a right to invade the growers’ property. It therefore constitutes a per se
 physical taking.”). To determine whether government action that does not physically
 invade the property nonetheless constitutes a taking, courts “balanc[e] factors such as the
 economic impact of the regulation, its interference with reasonable investment-backed
 expectations, and the character of the government action.” Id. at 2072. Here, the Court
 finds that Plaintiffs have plausibly alleged that the County’s actions have “restricted a
 property owner’s ability to use his own property.” Id.
         Therefore, Defendant’s motion to dismiss Plaintiffs’ takings claims is DENIED.

               C.   State Law Claims

               1.     Cal. Welf. & Inst. Code § 17000

        The California Welfare and Institutions Code provides as follows:

               Every county and every city and county shall relieve and support all
               incompetent, poor, indigent persons, and those incapacitated by age,
               disease, or accident, lawfully resident therein, when such persons are not
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               supported and relieved by their relatives or friends, by their own means, or
               by state hospitals or other state or private institutions.
 Cal. Welf. & Inst. Code § 17000 (West 2020). This provision is intended “to provide for
 protection, care, and assistance to the people of the state in need thereof, and to promote
 the welfare and happiness of all of the people of the state by providing appropriate aid
 and services to all of its needy and distressed.” Id. § 10000. Such aid and services shall be
 “provided promptly and humanely, with due regard for the preservation of family life,”
 and on a non-discriminatory basis. Id. Courts have interpreted § 17000 as imposing
 requirements to both provide “general assistance” and “subsistence medical care to the
 indigent.” Hunt v. Super. Ct., 21 Cal 4th 984, 1011–13 (1999).
        Defendant’s primary argument is that § 17000 or other provisions do not “give rise
 to a mandatory duty for the County.” Mot. at 25. Defendant argues that § 17000 “does
 not require counties to cover all unmet needs, only to provide last resort financial
 assistance and medically necessary care.” Id. (citations omitted). However, giving the
 County discretion over the “type and form” of services it provides does not mean the
 County has discretion over whether or not to carry out its duties under § 17000. While the
 Court agrees with the County’s assertion that Defendants have discretion over how they
 discharge their duties under § 17000, the Court disagrees that § 17000 does not impose a
 mandatory duty for the County to act and care for its indigent constituents. Accordingly,
 the County’s motion to dismiss Plaintiffs’ claim under § 17000 is DENIED.

                    2.        Nuisance

        Defendant argues that Plaintiffs fail to state a claim for nuisance, public or private,
 because “the County did not create the alleged nuisance – the waste, disease, fires or
 crime.” Mot. at 27. The County further states that people experiencing homelessness
 themselves cannot be an actionable, area-wide nuisance under Ninth Circuit precedence.
 Id.
        Plaintiff responds that the County’s alleged actions have “led to a massive mental
 health and drug addiction crisis” causing increased health risks, lowered property values,
 increased insurance costs, cleanup costs, and significant safety risks. Opp’n. at 20.
 Plaintiffs argue that they do not allege persons experiencing homelessness themselves are
 a nuisance. Id. Instead, Plaintiffs argue the County’s failure to provide access to hygiene
 and sanitary facilities create the nuisance.
        Defendant cites Pac. Bell for the proposition that nuisance liability cannot extend
 “to damage suffered as a proximate result of the independent intervening acts of others.”
 Martinez v. Pac. Bell, 225 Cal. App. 3d 1557, 1565 (1990). In Pac. Bell, the court found
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 that a telephone company was not liable for an assault committed by third parties that
 were “attracted to” the company’s telephone booths. Id. at 1560. The court observed that
 there was “[n]o special relationship” between the telephone company and the assailants.
 Id. at 1567.
         Here, the County allegedly has the responsibility for both creating the conditions
 causing these alleged injuries, and for perpetuating and facilitating them. Unlike the
 telephone company in Pac. Bell, the County may have a special relationship to persons
 experiencing homelessness — “[t]he County has the obligation to provide for indigent
 and low-income mental and public healthcare.” SAC ¶ 5.
         Accordingly, the Court DENIES Defendant’s Motion as to Plaintiffs’ nuisance
 claim.

                    3.       Cal. Code of Civ. Pro. § 526a

          Plaintiffs also bring a taxpayer waste claim under California Code of Civil
 Procedure § 526a. Defendant contends that Plaintiffs cannot state a claim for relief under
 § 526a because they have merely alleged that the County could be making better use of
 its funds rather than that current spending is illegal. Mot. at 27-28.
         However, as Plaintiffs point out, “Plaintiffs need not demonstrate an expenditure
 is ‘illegal’ to claim under section 526a…” Opp’n at 17. Rather, “[e]ven when done in the
 exercise of a lawful power, public spending may qualify as waste if it is completely
 unnecessary or useless or provides no public benefit.” Chiatello v. City & County of San
 Francisco, 189 Cal. App. 4th 472, 482 (2010) (internal quotation marks and citations
 omitted).
          In their complaint, Plaintiffs properly alleged that taxpayer funds have been
 misused “in a way that makes it impossible for Measure H to achieve the ostensible goal
 for which it was passed.” Opp’n at 17; SAC ¶¶ 59–67. Considering the billions of dollars
 spent on homeless relief in recent years and the fact that homelessness rates and homeless
 deaths continue to grow exponentially in the face of such spending, there is little question
 that Plaintiffs have made an adequate showing that at least some degree of government
 spending has been “unnecessary or useless” in tackling the homelessness problem.
          Accordingly, the County’s motion to dismiss Plaintiffs’ claim under § 526a is
 DENIED.
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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL

  Case No. LA CV 20-02291-DOC-KES                                             Date: June 29, 2023

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                     4.       California Tort Claims

         Defendant asserts that under California Government Code section 820.2 and
 Government Code section 815.2, the County is immune from Plaintiffs’ first, third, and
 fourth California tort causes of action. Mot. at 28-29.
         Plaintiff responds, and the Court agrees, that discretionary immunity is
 inapplicable to claims seeking only equitable and injunctive relief, as is the case here. See
 Opp’n. at 18. California Government Code section 814, which governs all claims for
 immunities under Title 1, Division 3.6, Part 2, Chapter 1 (including Government Code
 sections 815.2 and 820.2, which Defendant cites and relies upon) specifically denotes that
 “[n]othing in this part affects liability based on contract or the right to obtain relief other
 than money or damages against a public entity or public employee.”; see also Cal. Gov.
 Code § 814, Legislative Committee Comments—Senate (“The various provisions of this
 part determine only whether a public entity or public employee is liable for money or
 damages . . . . This section also declares that the provision of this statute relating to
 liability of public entities and public employees have no effect upon whatever right a
 person may have to obtain relief other than money or damages.”).
         Thus, the County’s claims of immunity under 820.2 and 815.2 are inapplicable to
 the present California tort causes of action. Accordingly, Defendant’s motion to dismiss
 these causes of action is DENIED.
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                              UNITED STATES DISTRICT COURT
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        IV.    Disposition

        For the reasons set forth above, the Court GRANTS IN PART and DENIES IN
 PART Defendant County’s Motion to Dismiss. (Dkt. 552). In particular, Property-Owner
 Plaintiffs’ claims for violation of mandatory duty under § 17000 are DISMISSED
 WITH PREJUDICE. Defendant’s Motion is DENIED as to:

        — Unhoused Plaintiffs’ claim for violation of mandatory duty under § 17000;
        — Plaintiffs’ nuisance (public and private) claim;
        — Plaintiffs’ state law takings, or inverse condemnation, claim;
        — Plaintiffs’ § 526a waste claim;
        — Plaintiffs’ equal protection claim;
        — Plaintiffs’ state-created danger claim; and
        — Plaintiffs’ federal takings claim.


        The Clerk shall serve this minute order on the parties.

  MINUTES FORM 11                                           Initials of Deputy Clerk: kdu
  CIVIL-GEN
